Appendix’€-s ECF No. 37-3, PagelD.1543 Filed 10/07/24 Page 1 of 2

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Original - Court file os
, 1st copy - Assignment clerk/Ex. copy - Opposing party
Approved, SCAO 2nd copy - Friend of the court/Extra 4th copy - Moving party
STATE OF MICHIGAN CASE NO.
oa eee T | NOTICE OF HEARING AND MOTION —_|22-00061GC
COUNTY Judge Michelle Friedman Appel
Court address Court telephone no.
13600 Oak Park BLVD, Oak Park, MI 48237 (248)691-7440
Phaintiffname(s) Defendantname(s)
JP Morgan Chase Bank, N.A. Katrina Bergunder
Plaintiff's y, bar no., ,and telephone no. v Defendant's attorney, barno., address, and telephone no.
866-757-4738 P-82443 pro per
Mandarich Law Group, LLP 24674 Republic Ave
James McArdle Oak Park, MI 48237
P.O. Box 109032, Chicago, IL 60610 773-853-7085
| NOTICE OF HEARING |

Motion to exclude witness and dismiss

1. Motion title:
rty: Katrina Bergunder, defendant

2. Moving pai
3. This matter has been placed on the motion calendar for:
Judge Barno. te
Judge Michelle Friedman Appel 32709 O2 fy /2023 | 10.30Am
Hearing location
[4] Court address above

4. If you require special accommodations to use the court because of disabilities, please contact the court immediately to make

arrangements.

T move the court to Jude the witness and dismissal of case with prejudice. I move to exclude the witness
Sinan eaRanneaeReteS

The court ordered discovery, among other items needed to proceed is the document upon which the plaintiff predicates its theory of
d It has not been produced. Defendant cannot prepare for trial dealing with a
) which the latter

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liability, The court ordered that it be prod
non-existent document. The case should be dismissed with ae cb ak cea ae
is withheld by the Michigan Court of Appeals case Grubor Enterprises, Inc v Kortidis*, wort 2506 NW2d 614
~—
(1993). Defendant should be awarded costs. pISTRIC Se Ml CHIG. AN= a =
OAK PAR a =
*Should be italicized but SCAO form does not permit formatting T ! J
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02/08 /1023
Date

| CERTIFICATE OF MAILING |

\ certify thaton this date | served a copy of this notice of hearing and motion on the parties or their by first-class mail addressed

to their last-known addresses as defined by MCR 2.107(C)(3).

Qt (08 (2023

MC 326 (3/10) NOTICE OF HEARING AND MOTION

